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                                                       6           kwyant@shea.law

                                                       7   Attorneys for HASelect-Medical Receivables
                                                           Litigation Finance Fund International SP
                                                       8
                                                                                    UNITED STATES BANKRUPTCY COURT
                                                       9
                                                                                              DISTRICT OF NEVADA
                                                      10
                                                           In re:
                                                      11                                                           Case No. 21-14486-abl
                                                           INFINITY CAPITAL MANAGEMENT, INC.                       Chapter 7
              1731 Village Center Circle, Suite 150




                                                      12
                                                                                 Debtor.
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                      14   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND                                 Adversary Case No. 21-01167-abl
                                                      15   INTERNATIONAL SP,
                                                                                                                     NOTICE OF WITHDRAWAL OF
                                                      16                         Plaintiff,                          SUBPOENAS AND NOTICE OF
                                                                                                                            DEPOSITION
                                                      17   v.
                                                      18   TECUMSEH–INFINITY MEDICAL
                                                           RECEIVABLES FUND, LP,
                                                      19
                                                                                Defendant.
                                                      20

                                                      21   TECUMSEH–INFINITY MEDICAL
                                                           RECEIVABLES FUND, LP,
                                                      22
                                                                                Counter-Claimant,
                                                      23
                                                           v.
                                                      24
                                                           HASELECT-MEDICAL RECEIVABLES
                                                      25   LITIGATION FINANCE FUND
                                                           INTERNATIONAL SP,
                                                      26
                                                                                Counter-Defendant.
                                                      27

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                                                       1   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND
                                                       2   INTERNATIONAL SP,
                                                       3                          Counter-Claimant,
                                                       4   v.
                                                       5   TECUMSEH–INFINITY MEDICAL
                                                           RECEIVABLES FUND, LP,
                                                       6
                                                                                 Counter-Defendant.
                                                       7

                                                       8            PLEASE TAKE NOTICE that HASelect- Medical Receivables Litigation Finance Fund

                                                       9   International SP (“HASelect”) by and through counsel, hereby withdraws the following subpoenas

                                                      10   and notice of deposition:

                                                      11        x   Notice of Deposition of Tecumseh-Infinity Medical Receivables Fund, LP Pursuant to FRCP
              1731 Village Center Circle, Suite 150




                                                      12            30(b)(6) [ECF No. 98]
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13        x   Notice of Issuance of Subpoena to Testify at a Deposition in a Bankruptcy Case (Or
                        (702) 471-7432




                                                      14            Adversary Proceeding) on CHADWICK MEYER [ECF No. 100];

                                                      15        x   Notice of Issuance of Subpoena to Testify at a Deposition in a Bankruptcy Case (Or

                                                      16            Adversary Proceeding) on MICHAEL BELOTZ [ECF No. 101];

                                                      17        x   Notice of Issuance of Subpoena to Testify at a Deposition in a Bankruptcy Case (Or

                                                      18            Adversary Proceeding) on SIMON CLARK [ECF No. 103];

                                                      19            Dated this 15th day of September 2022.

                                                      20
                                                                                                             SHEA LARSEN
                                                      21

                                                      22                                                     /s/ Bart K. Larsen, Esq.
                                                                                                             BART K. LARSEN, ESQ.
                                                      23                                                     Nevada Bar No. 8538
                                                                                                             KYLE M. WYANT, ESQ.
                                                      24                                                     Nevada Bar No. 14652
                                                                                                             1731 Village Center Circle, Suite 150
                                                      25                                                     Las Vegas, Nevada 89134
                                                      26                                                     Attorneys for HASelect-Medical Receivables
                                                                                                             Litigation Finance Fund International SP
                                                      27

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                                                                                           CERTIFICATE OF SERVICE
                                                       1
                                                                1.    On September 15, 2022, I served the following document(s): NOTICE OF
                                                       2              WITHDRAWAL OF SUBPOENAS AND NOTICE OF DEPOSITION
                                                       3        2.    I served the above document(s) by the following means to the persons as listed
                                                                      below:
                                                       4
                                                                      ց        a.       ECF System:
                                                       5
                                                                      CLARISSE L. CRISOSTOMO on behalf of ROBERT E. ATKINSON
                                                       6              clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com
                                                       7              GERALD M GORDON on behalf of TECUMSEH-INFINITY MEDICAL
                                                                      RECEIVABLES FUND, LP
                                                       8              ggordon@gtg.legal, bknotices@gtg.legal
                                                       9              MICHAEL D. NAPOLI on behalf of TECUMSEH-INFINITY MEDICAL
                                                                      RECEIVABLES FUND, LP
                                                      10              michael.napoli@akerman.com,
                                                                      cindy.ferguson@akerman.com;catherine.kretzschmar@akerman.com;laura.taveras
                                                      11              @akerman.com;masterdocketlit@akerman.com;teresa.barrera@akerman.com
              1731 Village Center Circle, Suite 150




                                                      12              ARIEL E. STERN on behalf of TECUMSEH-INFINITY MEDICAL
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                                      RECEIVABLES FUND, LP
                                                      13
                        (702) 471-7432




                                                                      ariel.stern@akerman.com, akermanlas@akerman.com
                                                      14              տ        b.       United States mail, postage fully prepaid:
                                                      15              տ        c.       Personal Service:
                                                      16              I personally delivered the document(s) to the persons at these addresses:
                                                      17                              տ       For a party represented by an attorney, delivery was made by
                                                                      handing the document(s) at the attorney’s office with a clerk or other person in
                                                      18              charge, or if no one is in charge by leaving the document(s) in a conspicuous place
                                                                      in the office.
                                                      19
                                                                                      տ       For a party, delivery was made by handling the document(s)
                                                      20              to the party or by leaving the document(s) at the person’s dwelling house or usual
                                                                      place of abode with someone of suitable age and discretion residing there.
                                                      21
                                                                      տ       d.      By direct email (as opposed to through the ECF System):
                                                      22              Based upon the written agreement of the parties to accept service by email or a
                                                                      court order, I caused the document(s) to be sent to the persons at the email
                                                      23              addresses listed below. I did not receive, within a reasonable time after the
                                                                      transmission, any electronic message or other indication that the transmission was
                                                      24              unsuccessful.
                                                      25              տ        e.       By fax transmission:
                                                      26              Based upon the written agreement of the parties to accept service by fax
                                                                      transmission or a court order, I faxed the document(s) to the persons at the fax
                                                      27              numbers listed below. No error was reported by the fax machine that I used. A copy
                                                                      of the record of the fax transmission is attached.
                                                      28


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                                                       1              տ        f.       By messenger:
                                                       2              I served the document(s) by placing them in an envelope or package addressed to
                                                                      the persons at the addresses listed below and providing them to a messenger for
                                                       3              service.
                                                       4              I declare under penalty of perjury that the foregoing is true and correct.
                                                       5              Dated: September 15, 2022.
                                                       6                                                By: /s/ Bart K. Larsen, Esq,
                                                       7

                                                       8

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                                                      10

                                                      11
              1731 Village Center Circle, Suite 150




                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




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